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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ELAINE ABBOTT

                Plaintiff,


       v.
                                                       Civil Action No. 22-02717 (BAH)

SHELLEY FINLAYSON, Acting Director
U.S. Office of Government Ethics

                Defendant.



                                   JOINT STATUS REPORT

       Pursuant to the Court’s March 15, 2024, Minute Order, the Parties have conferred and now

respectfully submit the following Joint Status Report in this case.

Defendant’s Representations

       The Court issued an Order on March 15, 2024 referring this case to mediation and

appointing pro bono counsel to Plaintiff for the limited purpose of assisting in the resolution of

this case through mediation. See Mar. 15, 2024 Minute Order; see also ECF No. 30. On that day,

the Court also instructed Plaintiff to read and sign the “Notice of Acknowledgment of Appointment

of Counsel for the Limited Purpose of Mediation” that was attached to the Order, and to file a

signed copy with the Court. ECF No. 30 at 1. The Court further ordered that mediation would

commence once counsel has entered an appearance on behalf of plaintiff. Id. Plaintiff complied

with the Court’s instruction to acknowledge appointment of counsel on May 12. With the

exception of Plaintiff’s May 12 acknowledgement, no other actions have been taken with regard

to resolution of this matter since the Court’s referral of this case to mediation. Based upon a check

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of the docket in this case, pro bono counsel has not yet entered an appearance for Plaintiff, and

thus mediation has not yet commenced.

       Moreover, as of this report, Defendant still has not received Plaintiff’s discovery responses.

Defendant first noted its inability to access Plaintiff’s discovery responses in Defendant’s March

15, 2024 “Notice In response to Court Order,” ECF No. 29. Specifically, Defendant represented

that at 11:57 p.m. on March 14, Plaintiff had emailed undersigned defense counsel a link to a file

sharing system, purporting to contain Plaintiff’s discovery responses, but that Plaintiff’s link had

expired by the next afternoon before defense counsel could access it. See ECF No. 29, at 3.

Defendant’s subsequent efforts to obtain usable access to Plaintiff’s discovery responses have

been unsuccessful. Without Plaintiff’s discovery responses, Defendant is unable to assess its

case, and thereby meaningfully engage in mediation.1

       Undersigned defense counsel continues to attempt to resolve this issue with

Plaintiff. Specifically, undersigned defense counsel has requested that Plaintiff provide usable

access to her discovery responses by May 30, and suggested alternative methods by which

Plaintiff can do so, in lieu of a Defense motion to compel discovery. Despite being provided with a

means to upload her responses to Defense counsel’s file sharing system—the same system

through which Defendant provided its responses to Plaintiff—Plaintiff has represented that she

intends to re-send her discovery responses by May 30, using the same system Defendant has

been unable to access.




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        Defendant has completed its responses to Plaintiff’s multiple discovery requests, providing
Plaintiff approximately 2,000 pages of documents and answers to interrogatories and requests for
admission.
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       Defendant proposes that the Parties file a further Report within 15 days after the close of

mediation, to apprise the Court of the status of mediation, whether any disputes remain between

the parties and, if so, proposing a schedule to govern further proceedings.

Plaintiff’s Representations

       Plaintiff Abbott filed a “Notice of Acknowledgement of Appointment of Counsel for the

Limited Purpose of Mediation” on May 12, 2024, after reaching agreement for representation

pursuant to this Court’s mediation referral. After Plaintiff’s Counsel files a Notice of Appearance

and a mediator is appointed, mediation proceedings will be scheduled.

       In the interest of providing a Joint Status Report, Plaintiff agrees to Defendant’s proposal

to submit a future Joint Status Report in the timeframe the Defendant sets forth.

       However, Plaintiff disputes Defendant’s contentions and characterizations regarding

Plaintiff’s March 13, 2024, substantive Discovery responses. In fact, today is the first time

Defendant’s counsel made these representations to the Plaintiff. If necessary, Plaintiff Abbott will

submit evidence to the Court to dispute the Defendant’s representations. Plaintiff would instead

prefer to simply re-send the Discovery responses through the “ShareFile” mechanism she already

utilized. “ShareFile” tracking records show that the Defendant’s representatives successfully

accessed Plaintiff’s Discovery records in March, 2024.




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Dated: May 15, 2024                     Respectfully submitted,

/s/ Elaine Abbott                       MATTHEW M. GRAVES, D.C. Bar #481052
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